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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:

ANDREA G. FRAZIER,                                   BANKRUPTCY
                                                     CASE NO.: 8:12-bk-05911-MGW


         Debtor.                                     CHAPTER 7

________________________/

STEPHEN L. MEININGER, as Chapter 7
Trustee of the estate of ANDREA G.
FRAZIER,

         Plaintiff,
                                                     ADVERSARY
v.                                                   PROCEEDING NO.: ________________

A-1 PREMIUM BUDGET, INC., a Delaware
corporation, d/b/a CASH IN A WINK,

      Defendant.
____________________________________/

              COMPLAINT FOR UNLAWFUL DEBT COLLECTION PRACTICES

         COMES NOW Plaintiff, Stephen L. Meininger, the Chapter 7 Trustee of the bankruptcy

estate of Andrea G. Frazier, by and through the undersigned law firm, and sues Defendant, A-1

Premium Budget, Inc., a Delaware corporation, d/b/a Cash In A Wink, and alleges as follows:

                                   PRELIMINARY STATEMENT

         1.      On or about April 19, 2012 (the “Petition Date”), the Debtor, Andrea G. Frazier,

filed a petition under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”),

currently pending in this Court.



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       2.      Plaintiff brings this action pursuant to Fla. Stat. § 559.55 et seq., the Florida

Consumer Collection Practices Act (“FCCPA”).

                                JURISDICTION AND VENUE

       3.      The Court has jurisdiction and it is proper for this Court to hear this proceeding

pursuant to 28 U.S.C. § 1334, 28 U.S.C. § 157(b)(2)(O), and the standing Order of Reference of

the United States District Court entered by Hon. Anne C. Conway on February 22, 2012, 12-

MISC-26, Middle District of Florida, referring all Bankruptcy matters to United States

Bankruptcy Court, Middle District of Florida.

                                            PARTIES

       4.      Plaintiff, Stephen L. Meininger (“Plaintiff” or “Trustee”) is the Chapter 7 Trustee

of the bankruptcy estate of Andrea G. Frazier (“Frazier” or “Debtor”). Frazier is a natural person

resident in the City of Tampa, County of Hillsborough, State of Florida, where the causes of

action arose, and a “consumer,” as that term is defined by 15 U.S.C. § 1692a(3) and Fla. Stat. §

559.55(2), and is a “person” under Fla. Stat. § 559.72.

       5.      Defendant, A-1 Premium Budget, Inc., a Delaware corporation, d/b/a Cash In A

Wink, (“Creditor Defendant” or “Cash In A Wink”), doing business in the State of Florida, is a

“creditor” as that term is defined by 15 U.S.C. § 1692a(4) and Fla. Stat. § 559.55(3), and is a

“person” under Fla. Stat. § 559.72.

       6.      All conduct of Defendant alleged herein by Plaintiff was authorized, approved

and/or ratified by one or more officers, directors, or managers of Defendant, and/or knew in

advance that the Defendant was likely to conduct itself and allowed it to so act with conscious

disregard of the rights and safety of others. The conduct alleged herein was despicable,

fraudulent, oppressive, and done knowingly with intent, with malice, and without cause.

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       7.      The Defendant’s communications set forth below were made only to exhaust the

unpaying resisting Debtor’s will in an attempt to break the Debtor and have Debtor pay amounts

owed long after the Debtor was given all necessary information and persuasion and negotiation

failed, as demonstrated by Debtor expressly communicating to the Defendant to stop calling

Debtor.

       8.      The Defendant’s communications set forth below are wholly without excuse.

       9.      At all times mentioned herein, the agent(s) or employee(s) of Defendant acted

within the course and scope of such agency or employment, and acted with the consent,

permission and authorization of Defendant. Each such entity acted as a co-actor in an enterprise

to unlawfully attempt to collect debts from Debtor.

                                 FACTUAL ALLEGATIONS

       10.     Debtor is alleged to owe Defendant debts (the “Alleged Debt”), including without

limitation debts that Defendant maintains are owed to the Defendant.

       11.     The Section 341 Meeting of the Creditors (the “341 Hearing”) for the pending

bankruptcy was held on May 24, 2012.

       12.     Defendant made multiple Collection Calls each day, on multiple days, in multiple

weeks, over multiple months from January of 2012 through April 18, 2012 (the “Collection

Calls”) to Debtor attempting to collect the Alleged Debt.

       13.     It was the substance of the testimony of the Debtor, sworn and under oath at the

341 Hearing, that:


               a) Defendant made five to seven Collection Calls to Debtor each day, six days

               each week.


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               b) Defendant made two Collection Calls to Debtor at her place of employment

               after Debtor told Defendant that Defendant was not allowed to call Debtor at her

               place of employment.


               c) Defendant made Collection Calls to Debtor stating, “We do not care, we will

               call until we get paid” and “it does not matter if you have an attorney.”


               d) Debtor retained counsel, Fehintola Oguntebi in January of 2012, to represent

               Debtor regarding the Alleged Debt.


               e) Defendant made three Collection Calls to Debtor each day, after Debtor

               retained counsel, informed Defendant of retained counsel, and provided counsel’s

               contact information.


       14.     Upon further investigation, after the 341 hearing, Debtor stated:


               a) Defendant made Collection Calls to Debtor after Debtor told Defendant that

               Debtor could not pay the Alleged Debt.


               b) Defendant made Collection Calls to Debtor after Debtor told Defendant to stop

               calling Debtor regarding the Alleged Debt.


       15.     Defendant (1) made multiple Collection Calls each day, on multiple days, in

multiple weeks, over multiple months from January of 2012 to April 18, 2012 to Debtor

attempting to collect the Alleged Debt; (2) made four to five Collection Calls to Debtor each day,

every day; (3) made Collection Calls to Debtor after Debtor told Defendant that Debtor could not


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pay the Alleged Debt; (4) made Collection Calls to Debtor after Debtor told Defendant to stop

calling Debtor regarding the Alleged Debt; (5) made two Collection Calls to Debtor at her place

of employment after Debtor told Defendant that Defendant was not allowed to call Debtor at her

place of employment; (6) made Collection Calls to Debtor stating, “We do not care, we will call

until we get paid” and “it does not matter if you have an attorney.”; and (7) made three

Collection Calls to Debtor each day, after Debtor retained counsel, Fehintola Oguntebi in

January of 2012, informed Defendant of retained counsel, and provided counsel’s contact

information.


                                               COUNT I

  VIOLATION OF THE FLORIDA CONSUMER COLLECTIONS PRACTICES ACT,
       FLA. STAT. § 559.55 et seq. AS TO DEFENDANT CASH IN A WINK

          16.     This is an action against Creditor Defendant for violations of Fla. Stat. § 559.55

et seq.

          17.     Plaintiff realleges and incorporates paragraphs 1 through 14, as if fully set forth

herein.

          18.     Defendant is engaged in the business of soliciting consumers for debts and

collecting consumer debts and is, therefore, subject to Fla. Stat. §559.55 et seq.

          19.     The Alleged Debt is a “debt” as defined by Fla. Stat. § 559.55(1).

          20.     Defendant communicated certain information to Debtor, as set forth in the above

Factual Allegation paragraphs, which constitutes “communication,” as defined by Fla. Stat. §

559.55(5).

          21.     Fla. Stat. § 559.72(7) provides, in pertinent part:



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               In collecting consumer debts, no person shall:

               (7) Willfully communicate with the debtor or any member of her or his family
               with such frequency as can reasonably be expected to harass the debtor or her or
               his family, or willfully engage in other conduct which can reasonably be expected
               to abuse or harass the debtor or any member of her or his family.

       22.     Defendant violated Fla. Stat. § 559.72(7) when Defendant (1) made multiple

Collection Calls each day, on multiple days, in multiple weeks, over multiple months from

January of 2012 to April 18, 2012 to Debtor attempting to collect the Alleged Debt; (2) made

four to five Collection Calls to Debtor each day, every day; (3) made Collection Calls to Debtor

after Debtor told Defendant that Debtor could not pay the Alleged Debt; (4) made Collection

Calls to Debtor after Debtor told Defendant to stop calling Debtor regarding the Alleged Debt;

(5) made two Collection Calls to Debtor at her place of employment after Debtor told Defendant

that Defendant was not allowed to call Debtor at her place of employment; (6) made Collection

Calls to Debtor stating, “We do not care, we will call until we get paid” and “it does not matter if

you have an attorney.”; and (7) made three Collection Calls to Debtor each day, after Debtor

retained counsel, Fehintola Oguntebi in January of 2012, informed Defendant of retained

counsel, and provided counsel’s contact information; all of which is a willful communication

with the Debtor with such frequency that Defendant could reasonably expect such

communication to harass Debtor, or which is a willful engagement by Defendant in other

conduct which could reasonably be expected to abuse or harass Debtor.

       23.     Fla. Stat. § 559.72(9) provides, in pertinent part:

               In collecting consumer debts, no person shall:

               (9) . . . assert the existence of some other legal right when such person knows that
               the right does not exist.



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       24.     Defendant violated Fla. Stat. § 559.72(9), second half, when Defendant (1) made

multiple Collection Calls each day, on multiple days, in multiple weeks, over multiple months

from January of 2012 to April 18, 2012 to Debtor attempting to collect the Alleged Debt; (2)

made four to five Collection Calls to Debtor each day, every day; (3) made Collection Calls to

Debtor after Debtor told Defendant that Debtor could not pay the Alleged Debt; (4) made

Collection Calls to Debtor after Debtor told Defendant to stop calling Debtor regarding the

Alleged Debt; (5) made two Collection Calls to Debtor at her place of employment after Debtor

told Defendant that Defendant was not allowed to call Debtor at her place of employment; (6)

made Collection Calls to Debtor stating, “We do not care, we will call until we get paid” and “it

does not matter if you have an attorney.”; and (7) made three Collection Calls to Debtor each

day, after Debtor retained counsel, Fehintola Oguntebi in January of 2012, informed Defendant

of retained counsel, and provided counsel’s contact information; all of which is an assertion of

the existence of the legal right to attempt to collect the Alleged Debt by unfair and deceptive

practices, which is a right Defendant knows does not exist, in violation of the FCCPA including

Fla. Stat. § 559.72(9), second half.

       25.      Fla. Stat. § 559.72(18) provides, in pertinent part:

               In collecting consumer debts, no person shall:

               (18) Communicate with a debtor if the person knows that the debtor is represented
               by an attorney with respect to such debt and has knowledge of, or can readily
               ascertain, such attorney's name and address, unless the debtor's attorney fails to
               respond within 30 days to a communication from the person, unless the debtor's
               attorney consents to a direct communication with the debtor, or unless the debtor
               initiates the communication.

       26.     Defendant violated Fla. Stat. § 559.72(18) when Defendant (1) made multiple

Collection Calls each day, on multiple days, in multiple weeks, over multiple months from


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January of 2012 to April 18, 2012 to Debtor attempting to collect the Alleged Debt; (2) made

Collection Calls to Debtor stating, “We do not care, we will call until we get paid” and “it does

not matter if you have an attorney.”; and (3) made three Collection Calls to Debtor each day,

after Debtor retained counsel, Fehintola Oguntebi in January of 2012, informed Defendant of

retained counsel, and provided counsel’s contact information; which is a communication with

Debtor by Defendant where Defendant knew Debtor was represented by an attorney as to the

Alleged Debt and knew, or could readily ascertain, the attorney’s name and address.

       27.      As a result of the above violations of the FCCPA, Debtor has been damaged

including, but not limited to, mental anguish, despair, frustration, embarrassment, nervousness,

anger, and loss of capacity to enjoy life and Creditor Defendant is liable to Plaintiff for actual

damages, statutory damages, and reasonable attorney’s fees and costs pursuant to the FCCPA,

Fla. Stat. § 559.77(2).


       28.      Based upon the willful, intentional, knowing, malicious, repetitive and

continuous conduct of the Defendant as described herein, Plaintiff is also entitled to an award of

punitive damages in accordance with Fla. Stat. §§ 559.77 and 768.72.


       29.      All conditions precedent to this action have occurred, have been satisfied or have

been waived.




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       WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against the

Defendant finding that the Defendant violated the FCCPA, awarding Plaintiff actual damages,

statutory damages, punitive damages, attorneys’ fees and costs pursuant to Fla. Stat. § 559.77(2),

and awarding Plaintiff any and all such further relief as is deemed necessary or appropriate.


Dated: September 12, 2013
                                             Respectfully Submitted,

                                             LASH & WILCOX PL
                                             4401 W. Kennedy Blvd., Suite 210
                                             Tampa, FL 33609
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